

People v Diaz (2025 NY Slip Op 01325)





People v Diaz


2025 NY Slip Op 01325


Decided on March 11, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 11, 2025

Before: Moulton, J.P., Kennedy, Gesmer, Mendez, Rodriguez, JJ. 


Ind. No. 59/21|Appeal No. 3870|Case No. 2023-01381|

[*1]The People of The State of New York, Respondent,
vKelvin Diaz, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Laura M. McFeely of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Emily Aldridge of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Michael, Marsha D., J.), rendered March 03, 2023,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 11, 2025
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








